       Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 1 of 26 Page ID #:10




        NOTICE TO DEFENDANT:
                                                             •
                                                            SUMMONS
                                                  (C/TACION JUDICIAL)
                                                                                                                      •             FOR COIJR.TIJSE ONLY
                                                                                                                                (SOLO PARA USO DE LA CORTI:)
                                                                                                                                                                     SUM-100




        (AV/SO AL DEMANDADO):
                                                                                                                                   FILED
        SALUS CAPITAL PARTNERS, LLC; HRG GROUP, Ill!C.; KYLE                                                              Su~erior Court of California
                                                                                                                            county of Los Angeles
        SHONAK; AARON MILLER and DOES I through 20, inclusive
        YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO El DEMANDANTE.):
                                                                                                                                MAY 312018
        DAVID ZINBERG, MARINA ZINBERG

         NOTICE! Yoq have been lj,Ued. The court m8y decide /lgainGt you without Vovr being Mard onl~as you respond within 30 days. Read the infoi'mation
         below.
            You have 30 CALENDAR DAYS after this summona and legftl papers llfO «)fWd on you to fllo a written response at this court and have a copy
         served on the plaintiff. A letter or phone ct1H will not prr,tet1 you. Yourwrltton responu mL1et l)e In proper 1egal form If you want the court to hear your
         case. There may ~ea court form that you can use for your r@aponq,o, Yow can flnd theae court fOrma and mim1 lnfonnation et the Callfomia Courts
         Onllne $1:3lf¥Help Center (www.courtinfo.ca.g0V1S6llhelp), your county low library, orthf.l court_hous, nearest you. If you cannot pay ths fillng fee, ask
         the court clerk for a fee waiver form. If you do not flle your respon&l'l on time, you may lo&e the c;ase by default, and your wages, money, and pro pert)'
          m_ay ba taken without further warning from the court.
             There are other legal requlremer,ts. You may w11nt to ca.II an attorney right away. If you do not know an atwrney, you may want to call an attorney
         rafetral s:ervlce. lf you cannot afford an attorney, you may be el!g!blo for free l.egal aarviees from a nonprofit legal atWfces program. You can locato
         thoaa nonprofit group$ at the California Legal Servlcei Web site (www.f~wh.r,,fpoalffomia,oro), the Callfornla Courts On\Jne Se!f~He:lp Center
         {www.covrtinfo.ca.gov/8elfhefp), or by c.ontacti~ your loe_al 001.,:tt Pt counw bur aaaociat!on. NOTE: ThD court hn a &t!lllutoty Hen for waived fees and
         coats on any settlement or arbitration award of $10,000 ar fl'l(}re ln Q t:ivil Cl:iS@. The c.01.111'$ lion muat be paid ~for& the court wlll dlsmliss the case.
         1AVISDI Lo hsn dem1;1ndado. Si no respondo dentro de 30 dtas, fa aorle r:>utnie decldfr 1m su contra sin escuahsr su wrs!On. u,a la informaei6n &
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         en Formato legal COff9Cto si d8sea quo pf'OCl}sen su caDo &n la oorlti. f:a posib/9 que hoya un fotmu!arlo que usted puedu usar para su respu$sta.
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           Hay otros requlsi!os lsgales. r:s f'$coment;:fablo que flams a 1.m ebogado fnrrlx/iatamente. Sf no conoce a 1;n abogado, pusdo /Jamar a un seMc/o de
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         (www.lawhelpoal!fomia.org), en el Centro do Ayµdia d~ las CofWs dt California, (www.11ucorte.ca,gov) o ponl6ndose en cont&cto con IA oorla o el
         coleglo de abogsdos locales, AVISO: Pat l&y, la 1.-;wttJ tiene cjerecho s rw!umnr las clJOl~uJ y ((>$ co.:itos oxentos por lmponer Ufl grav.,m&n sol.lro
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        /Et nomoro y direcc/on de fa aorta es}:                 Superior Court of California• West                             .:f'                             r,
        1725 Main Street
        Santa Monica, CA 9040 I
        The name, address, and telephone number of plaintiffs attorney, or ~lalnU/fwithout an attomey, is:
        /El nomb1e, la dirocci6n y et mim•ro d• tetofono d•I abogado def deinandonle, o def oomsndante quo no lien• obogado, es):
        Lester Winograde, Esq., 245 Main Street, Suite 113, Venice, CA 90291, (310) 226-6864
        DATE:                               .      .        Sherri R. CVrtor, Clelk         Clerk, by     /';Ln1.../.:t_.,.,.                                        ,Deputy
        (Facha)     •         MAY 3 12018                                  -~~..,.,,..
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        (For proof of service of this summons, use Proof of Servioo of Summons (fomi POS-010}.}
        (Para pruob~ do ontroga de osta cttatton use el formu/Mo Proof of Service of Summons, (POS.010}),
                                          NOTICE TO THE PERSON SERVED: You are served
                                          1. [ I aun Individual defer,dant
                                          2.                D
                                                  as th• person sued under I.he fictitious name of (specify):


                                                       3.   D     on beh~lf of (speGify):
                                                            under: [   7   CCP 41610 (corporation)                    D       CCP 416.60 (minor)
                                                                   D       CCP 416.20 (defunct corporation)           O       CCP 416.70 (oonservatee)
                                                                   D       CCP 416.40 (aosoclation or partnerahlp)    D       CCP 416.90 (authorized person)
                                                                  C.1 othsr (specify}:
                                                       4    D    by porsonal delivery on (date}:
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           SUM-100 [Rov. July' I, 2QOO]
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                                       •
                   Lester Winograde, Esq. (SBN 171581)
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                   245 Main Street, Suite 113
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              2    Venice, CA 90291
                   Lesterwinograde@verizon.net
              3
                   Telephone: (310) 226·6864
              4    Facsimile: (310) 399-1659
              5

              6

              7
                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
              8
                                  FOR THE COUNTY OF :LOS ANGELES· WEST DISTRICT
              9
                                                  UNJ..,IMlTED JURISDICTION
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             11
             12    DAVID ZINBERG, MARJNA ZINBERG )                     CASE NO.:
                                                                                     SC129349
                                                 )
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                                                               ~
                                   Plaintiffs                          COMPLAINT FOR:
             14                  vs.                           )       l)     LENDER LIABILITY FOR
                                                               )              BREACH OF CONTRACT;
             15    SALUS CAPITAL PARTNERS, LLC;                )       2)     UNLAWFUL BUSINESS
                   HRG GROUP, INC.; KYLE SHONAK;               )              PRACTICES; and
             16
                                                               ~
                   AARON MILLER and DOES 1 through                     3)     UNJUST ENRICHMENT
                   20, inclusive
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                                                               ~
                                                                       DEMAND FOR JURY TRIAL
            ··13          Defendants.
                   --------------)
             19
                          Plaintiffs, DAVID ZINBERG AND MARINA ZINBERG, files a Complaint herein
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                   against Defendants, and each of them, as follows:
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                                                              PARTIES,
             22
                          1.      Plaintiff MARTI\JA ZINBERG was, at all tunes relevant to this complaint, an
             23
                   individual doing business in Los Angeles County, State of California.
             24
                          2.      Plaintiff DAVID ZINBERG was, at all times relevant to this complaint, an
             25
                   individual doing business in Los Angeles County, State of California.
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                          3.      Defendant SALUS CAPITAL PARTNERS, LLC ("Salus"), is a Delaware limited
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!\•
 •.                Liability Partnership doing business in Los Angeles County.
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                                                            COMPLAINT
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CASE MANAGEMEN'T C01~PERSNOE


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 ¥ll.-
 JUDGE GERALD ROSENBERG




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                    1          4.
                                           -                                              -
                                       Defendant HRG GROUP, INC. ("HRG") is a Delaware corporation doing
                        business in Los Angeles County and fom1erly doing business as Harbinger Group.
                    2
                               5.      Defendant KYLE SHONAK, is an individual residing outside California but
                    3
                        during times mentioned herein doing business within Los Angeles County, California.
                    4
                               6.      Defendant AARON MILLER, is an individual residing outside California but
                    5
                        during times mentioned herein doing business within Los Angeles County, California.
                    6
                               7.      Plaintiff is unaware of the true identities of the Defendants sued as DOES 1
                    7
                        through 10 herein, and therefore sues them with fictitious names as "Doe" Defendants. Plaintiff
                    8
                        alleges that each Defendant, including but nc-1t limited to each "Doe" Defendant, is and at all
                    9
                        times alleged herein was, liable to Plaintiff.
                   10
                               8.      Plaintiff is informed, believes, alleges that at all relevant times to this lawsuit,
                   11
                        each of the Defondants was and now is the agent, servant, employee, representative, and/or alter
                   12
                        ego of each of the other Defendants, and in doing the things m~ntioned hereinafter, was acting
                   13
                        within the scope of his/her authority as such agent, servant, employee, representative and'or alter
                   14
                        ego, with the permission and consent of the remaining Defendants.
                   15
                               9.      Plaintiff is infonned and believes th.at HRG is the alter ego of Salus, in that HRG
                   16
                        dominated, influenced and controlled Salus, provided the capital that funded Salus loans,
                   17
                        including the loan at issue in this Complaint, such that at all times herein mentioned, there
                   18
                        existed and now exists a unity of interest and ownership between HRG and SALUS, such that the
                   19
                        individuality and separateness of HRG and Sal.us has ceased to exist. Specifically, HRG was the
                   20
                        parent company of Salus ~nd directed Safos's operations through Omar Asali (CEO of HRG
                   21
                        during the time period at issue), Brendan Doyle (General Counsel and Compliance Officer for
                   22
                        HRG), Aaron Miller and Kyle Shonack. Harbinger/HRG made all capital decisions about Salus's
                   23
                        loan described herein vh~ Aaron Miller Kyle Shonack and Omar Asali. Harbinger, HRG and/or
                   24
                        another company controlled by it funded the money for Salus's loan/line of credit at issue herein.
                   25
                        In addition, Brendan Doyle (a Harbinger/BRO employee) winded down Salus's operations after
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                        Asali made the decision to shut Salus down. By virtue of the foregoing, adherence to the fiction
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                of separate corporate existence would, under the circumstances, sanction a fraud and promote
                injustice in that Plaintiff would be unable to realize upon any judgment in his favor.
            2
                                                 JURISDICTION AND VENUE
            3
                        10.     Jurisdiction is proper in this Court as the amount in controversy exceeds $25,000
            4
                and the causes of action arose within this Court's jurisdiction.
            5
                                                  }'ACTUAL BACKGROUND
            6
                       11.      David Zinberg was the founder and CEO Bidz.com, Inc. ("Bidz"). Bidz owned
            7
                and operated Bidz.com which was an online jewelry, accessories and fashionwear auction
            8
                website and marketplace from 1998 to 2014. During this time span, Bidz sold over one billion
            9
                dollars worth of merchandise.
           10
                       12.      Bidz largest jewelry supplier during its existence was Los Angeles Jewelry
           11
                Production, Inc. ("LAJ"). LAJ is owned, operated and controlled by the Aframian family which
           12
                primarily consists of Emanual Aframian, Houshang Aframian, Behrouz Aframian and Saied
           13
                Aframian (collectively, the "Aframians"). LAJ and Bidz did hundred of millions of dollars of
           14
                business over the years with Saied Aframian and David Zinberg being the principals handling
           15
                these transactions for their respective companies.
           16
                       13.      By 2007 Bidz was a publically traded company and in 2008 Bidz was profitable
           17
                with sales of over $200 million dollars and had over :200 employees worldwide. Unfortunately,
           18
                with the severe recession and other market and business factors, in 2009 and thereafter Bidz
           19
                began a downwards trend in sales but was still purchasing large quantities of jewelry from LAJ.
          20
                LAJ and LAJ's officers (the Aframians) would loan money to David Zinberg at times from 2009
          21
                through 2011. This was often documented via promissory notes by David Zinberg and/or his
          22
                sister, Marina Zinberg who was also an executive at Bidz.
           23
                       14.      In total, there were three different loans from the Aframians to the Zinberg's for a
          24
                total of$1,000,000. Given the extensive amount of business that Bidz gave to LAJ over the
          25
                years, David Zinberg and Saied Aframian thereafter agreed that any of these loans would become
          26
                debts ofBidz.
          27
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                                                           COMPLAINT
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            1          15.
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                               In November, 2012 Bidz and its subsidiary, Modnique.com, Inc ("Modnique")
                were taken private via a merger transaction with Glendon Group, Inc. ("Glendon"). LAJ and the
            2
                Aframians pruiicipated in a series of transactions that assisted with closing this merger. Glendon
            3
                and Bidz thereafter agreed to be responsible for any of the outstanding debts of the Zinbergs to
            4
                LAJ or the Aframians.
            5
                       16.     On or about June 26, 2013 Bidz, Modnique and Glendon ("Glendon Companies")
            6
                signed secured credit agreements with Defendant Salus Capital Partners, LLC ("Salus"). In total,
            7
                the Glendon Companies were to receive approximately $24 million dollars in loan and/or credit
            8
                line from Salus. As part of this transaction, Salus mandated that Modnique acquire another of
            9
                Salus' distressed creditors, an online retailer named Totsy for approximately $8 million dollars
           10
                which was far more than it was actually worth. This Totsy purchased was forced upon the
           11
                Glendon Companies as a condition to receive the line of credit. Salus then secured approximate
           12
                $24 million dollars in financing or assumed debt for the Glendon Companies by placing a lien on
           13
                the inventory and assets of these companies.
           14
                       17.     Unbeknown.st to Zinberg and the Glendon Companies, at this time Salus had
           15
                previously sought to obtain a commercial lendin~ license from the State of Califomia, twice
           16
                applying for a license through the California Depa1trnent of Business Oversight ("DBO").
           17
                Although Salus retained seasoned cow1sel (Greenburg Traurig) to oversee the licensure, DBO
           18
                never issued a license due, on information and belief, to Salus's affiliation with the Harbinger
           19
                Group (now HRG Group, Inc;), which was Salus's capital provider. On information and belief,
           20
                DBO was unwilling to license Salus bccm1se the U.S. Securities and Exchange Commission had
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                investigated Harbinger's founder, Phil F~kone, for securities fraud (Mr. Falcone ultimately
           22
                entered into a settlement agreement to resolve the charges). ·- - - - - - - - - - - -
           23
                       18.     Although Salus never re(.:eivcd a commercial lending license, Salus, under the
           24
                direction of acting President Kyle Shonak, and the CEO of Harbinger/HRG Group, Omar Asali,
           25
                continued to lend to the Glendon Companies and other California companies in violation of
           26
                Financial Code section 22700 et seq.
           27




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              1          19.
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                                  On September 6, 2013 an agreement to deliver jewelry in exchange for payments
                  and mutual releases was entered between LAJ, Bidz and Glendon and their respective affiliates
              2
                  (" Agreement"). Pursuant to this Agreement, Glendon, Bidz and LAJ agreed that LAJ and would
              3
                  deliver approximately $2,800,369.18 million dollars worth of jewelry to Bidz in exchange for a
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                  series of payments for $3,924,398.41. There were to be 10 payments of $392,439.84. The extra
              5
                  million dollars in payments was necessary to cover the inter-company debts owed from Bidz to
              6
                  LAJ. Per the Agreement, "affiliates" included each of the respective parties shareholders,
              7
                  officers, directors, employees, assigns, etc. As such, the Aframians and the Zinbergs were legally
              8
                  included in this Agreement. A true and correct copy of this agreement is attached hereto as
              9
                  Exhibit I.
             10
                         20.     Glendon/Bidz made the first two $392,439.84 payments in November, 2013 and
             11
                  December, 2013. Thereafter, Salus would not allow Glendon or Bidz to have the funds available
             12
                  to make any further payments which would have been $3,139,518.70. In addition to the over $3
             13
                  million on cash payments, Salus was also able to eventually reap the benefit of the $2.9 million
             14
                  in LAJ inventory. The reason for this was because by early 2014 Salus began to assert direct
             15
                  operational control over Glendon and Bidz, acting entirely outside of their capacity as lenders,
             16
                  and running the Company to min, solely to privilege their interests as lenders and line their own
             17
                  pockets rather allow the Glendon Companies to run the business and pay their creditors.
             18
                         21.     In early 20 I 4 Salus actually installed its own personnel at Bidz to make all of the
             19
                  Glendon Companys' financial buying decisions and merchandise plans. Salus also took it upon
             20
                  themselves to make employee decisions; oversaw inventory and controlled the money flow of the
             21
                  companies.
             22
                         22.     Salus did this to ensure that they could enrich themselves at the highest
             23
                  level in the eventual liquidation of Bidz and Modnique that were already planning. Pursuant to
             24
                  this scheme, Salus refused the Gl~ndon Companies' employees to pay vendors for merchandise
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                  without approval from Salus' personnei. This was also extended to any other creditors such as
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                  LAJ, Federal Express, attorneys, employee reimbursements, etc.
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                                                            COMPLAIN'l'
      Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 8 of 26 Page ID #:17



             1          23.
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                                Salus routinely sent its own personnel (based in Boston) and hired other personnel
                 to come to the Glendon Companies offices in the Los Angeles. Salus stated the personnel were
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                 present to assist with smooth operations and to assist with reorganizing and consolidating the
             3
                 Glendon Companies.
             4
                        24.     On information and belief, Salus failed to act in a commercially reasonable
             5
                 manner when it asserted operational control over the Glendon Companies because there are
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                 significant conflicts of interest when a lender acts as an investor in a company and asserts
             7
                 operational control. Specifically, Salus was a purported "asset-based lenders," meaning that if its
             8
                 borrowers ultimately become unable to repay the loans, Salus recoups value by selling off the
             9
                 borrower's inventory.
            10
                        25.      Salus' operational control over the Glendon Companies was really just a strategy
            11
                 to pump up assets and bank account before liquidating of Bidz and Modnique. Salus and HRG
            12
                 engaged in a fraudulent scheme to continue sales while failing to pay all vendors, creditors and
            13
                 even customer merchandise and returns priors to the liquidation. Even when there was a clear
            14
                 default on the loans, Salus refused to report such a default to its and HRG's financial benefit.
            15
                        26.     At this point, Glendon CEO and Bidz CFO informed David Zinberg that they
            16
                 could not pay the remaining LAJ payments because Salus would not allow or approve Glendon
            17
                 or Bidz to pay them. By April 2014, Salus was exercising exercise complete control over Bidz
            18
                 and Modnique. Salus had placed outside accounting personnel from the firm of Pricewaterhouse
            19
                 Coopers LLP ("PWC") were directly within the Bidz and Modnique offices. All payments to
            20
                 vendors and outside parties had to be approved by Salus and/or PWC personnel. Business
            21
                 decisions were being dictated to Bidz management by Salus. Salus employees or agents were
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                 directly involved with running of the day to day business of both Bidz. Salus was alscnnvolved
            23
                 with making decisions on employee terminations. While Salus was approving Glendon
            24
                 payments to Salus' attorneys and other personnel, it would not allow the payment of money owed
            25
                 to LAJ. Salus refused to allow Gl<indon or Bidz to pay LAJ. Meanwhile, both Bidz and
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                 Modnique were operating their businesses, selling merchandise, accepting money from
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                 customers as normal.
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                                                           COMPLAINT
             Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 9 of 26 Page ID #:18

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                    1          27.
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                                        In mid-June 2014 Salus orchestrated the firing of CEO David Zinberg.
                        Immediately thereafter, Salus had the new acting CEO and Directors of Bidz execute an
                    2
                        Assignment for Benefit of Creditors under California law in favor of Defendant, Insolvency
                    3
                        Services, Group, Inc. ("ISG"). As the senior secured creditor, Salus was eventually paid all of
                    4
                        the money that was in the Bidz bank accounts.
                    5
                                                        FIRST CAUSE OF ACTION FOR
                    6
                                SECURED LENDER LIABILITY - BREACH OF WRITTEN CONTRACT
                    7
                                                              (Against all Defendants)
                    8
                               28.     The allega,tions contained in the above paragraphs of this complaint are hereby
                    9
                        incorporated by this reference as if fully set forth again herein.
                   10
                               29.     In June, 2013 Salus was simply a secured lender to Bidz and Modnique. Yet, as
                   11
                        described above, at the time LAJ WM demanding_paymentfor_past money due-under their
                   12
                        Agreement, Salus was acting far beyond that of a typical secured lender. Salus was exercising
                   13
                        complete domination and control over the Bidz busin(!ss operations. By law, Salus had thus
                   14
                        asswned responsibility ofBidz and had stepped into the shoes of Glendon/Bidz.
                   15
                               30.     Salus' control and domination was so complete that Bidz and Modnique exercised
                   16
                        no independent corporate judgment on various material matters, including, without limitation,
                   17
                        payments to third parties, control of virtual inventory program, employee decision and corporate
                   18
                        strategy. Salus exercised such control over the borrower's day-to-day operations that, in effect,
                   19
                        the lender became the bo1wwer.
                   20
                               31.     Salus' domination over the companies gave rise to fiduciary duties of care and
                   21
                        loyalty owed to the creditors and employees of Bidz, In essence, under the instmmentality
                   22
                        theory, a lender such as Salus may expose itseif to direct liability to the borrower and third
                   23
                        parties where the lender exercises such control over the borrower's day-to-day operations that, in
                   24
                        effect, the lender becomes the borrower. Un.der these circumstances, Salus stepped into the shoes
                   25
                        ofBidz for responsibility illlJh_e_LAJ Agreement.
                   26
                               32.     Saius' domination and control over Bidz and Modnique resulted in damages to its
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     ,z.~i
     -~'-               non-insider creditors who were owed payments in the normal course and scope of the business.
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     o:,
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                                                                   COMPLAINT
      Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 10 of 26 Page ID #:19



             J.
                                     -                                           -
                  Specifically, despite knowing that Bidz and Glendon owed the money to LAJ as called for per the
                  Agreement, Salus refused them to make payments of money owed. By the February, 2014 this
             2
                  amount was $3,103,793.70. ' Meanwhile during the preceding and following months, Salus was
             3
                  authorizing other payments to creditors, including other attorney's, but was only doing so to gain
             4
                  an immediate benefit and not for debts owed by Glendon, Bidz and/or Modnique.
             5
                          33.     Glendon and Bidz would have fully perfonned all condition, covenants,
             6
                  obligations and promises required on tht:ir part in accordance with the terms of the Agreement,
             7
                  except insofar as they been prevented or excused from having to perform such conditions,
             8
                  covenants, obligations and promises by Salus' breaches, or otherwise by operation oflaw.
             9
                          34.     Salus failed and refused to perform on the obligations of payment under the
            10
                  agreement. Such failure to pay constituted a materi~l breach of the agreement. HRG is liable for
            11
                  Salus's fraudulent, unfair and unlawful conduct by virtue of the fact that it is Salus's alter ego.
            12
                          35.     As a direct and proximate result of Salus' material breaches of the Agreement,
            13
                  Marina Zinberg has suffered and will continue to suffer damages, Specifically, because of the
            14
                  breach of the LAJ Agreement, Zinberg has been su_ed by the Afrrunians and for $307,726.03 and
            15
                  LAJ for $397,789.04 (total of $705,515.07) plus interest from April 19, 2017 and attorney's
            16
                  fees.
            17
                          36.     As a direct and proximate result of Salus' material breaches of the Agreement,
            18
                  David Zinberg has suffered and will continue to suffer damages, Specifically, because of the
            19
                  breach of the LAJ Agreement, David Zinberg has been sued by the Aframians for $820,604.74
            20
                  plus interest from April 19, 2017 and attomey's foes.
            21
                                                SECOND CAUSE-0:fl'-AG-TION-EOR- - - - - - -- t-
            22
                                               UNLAWFUL BUSINESS PRACTICES
            23
                                                        (Against all Defendants)
            24
                          37.    The allegations contained in the above paragraphs of this complaint are hereby
            25
                  incorporated by this reference as if fully set forth again herein.
            26
. ,,                      38.    California's Unfair Competition Law, (hereinafter ;1the UCL"), Business and
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~.;,
"
.....,.           Professions Code § 17200, et seq., defiries unfair competition to include any lmlawful, unfair,
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                                                  ·-----C◊MPLAI N T
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 11 of 26 Page ID #:20



       1
                              •                                            •
           or fraudulent business act or practice. The UCL authorizes any person to bring an action for
           relief under the statute acting for the interest of the general public. In such an action, the
       2
           court is authorized to order injunctive relief, declaratory relief, disgorgement of wrongful
       3
           gains and restitution as remedies for any violations of the UCL.
       4
                   39.     Salus has committed acts of unfair, unlawful, and fraudulent business activity, as
       5
           defined by California Business and Professions Code § 17200, by engaging in the acts and/or
       6
           practices described above.
       7
                  40.      Specifically, Salus has, among other things:
       8
                  (a) Loaned monies to Glendon, Bidz and Modnique without a commercial lending
       9
                  license required by California Financial Code section 22780. Specifically, on information
      10
                  and belief, at the time before and after this loan Salus made more than ten loans per year
      11
                  to California-based companies and actively pursued hiring a business development officer
      12
                  to pursue even further lending opportunities in California, even though it had twice been
      13
                  rejected for a license by the State of California;
      14
                  (b) Acted in a commercially unreasonable manner by taking direct operational control
      15
                  over the Glendon Companies, even though they had direct conflicts of interest as
      16
                  asset-based lenders.
      17
                  (c) Operated Bidz and Modnique for the sole purpose of increasing their security and
      18
                  recoverable capital and refusing to pay vendors, employees and creditors of the Glendon
      19
                  Companies.
      20
                  41.      Salus engaged in a pattern of acts of unfair competition proscribed by the UCL,
      21
           including the practices alleged herein. Salus' exerting improper control over companies to whom
      22
           they act as a borrower and force them not to pay creditors in order to preserve capital for them
      23
           selves is unlawful.
      24
                  42,     The business acts and practices of Salus, as herein above alleged, constitutes
      25
           unlawful business practices in that said acts and practices violate the provisions of Civil Code §
      26
           1749.5, Civil Code§ l 770(a)(l4) and common law.
      27

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                                                       COMPLAINT
       Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 12 of 26 Page ID #:21



              1             43.
                                       -                                         -
                                   HRG is liable for Salus's fraudulent, unfair and unlawful conduct by virtue of the
                  fact that it is Salus's alter ego.
              2
                            44.    As a direct and proximate result of the acts and practices described herein, Salus
              3
                  has received and collected monies which Salus is not entitled. Salus has profited wrongfully from
              4
                  the collection of these monies. Such fonds properly belong to Plaintiff and other similar creditors
              5
                  who were subjected to improper and unlawful actions of Salus
              6
                            45.    Pursuant to Business and Professi9ns Code§ 17203, the Court should issue an
              7
                  order enjoining Salus from engaging in such acts and practices, and ordering that Salus be
              8
                  disgorged all ill-gotten gains and provide appropriate restitution. Plaintiffs also seek an
              9
                  accounting by a referee under the administration of the Coutt to detennine the amount to be
             10
                  disgorged and refunded.
             11
                            46.    In addition, pursuant to Code of Civil Procedure § 1021.5, Plaintiff seeks recovery
             12
                  of attorneys' fees, costs, a.nd expenses incmred in the investigation, filing, and prosecution of this
             13
                  action.
             14
                                                   THIRD CAUSE O~' ACTION FOR
             15
                                                       UNJUST ENRICHMENT
             16
                                            (Against SALUS, HRG and DOES 1 through 20)
             17
                            47.    The allegations contained in the above paragraphs of this-complaint are hereby
             18
                  incorporated by this reference as if fully set forth again herein.
             19
                            48.    As a result of their acts and omissions alleged herein Salus was unjustly enriched.
             20
                  HRG is liable for Salus's fraudulent, unfair and unlawful conduct by virtue of the fact that it is
             21
                  Salus's alter ego.
             22
                            49.    Such unjust enrichment has viol.ated Plaintiffs rights. Plaintiff has been
             23
                  damaged by the effect of such unjust enrichment in an amount to be proven at tiiaL
             24
                            WHEREFORE, Plaintiff prays for and requests relief as follows:
             25
                            1.     On the the first cause of action thaJ the Cowt find that Salus was legally
             26
                  responsible for paying on the Agrc~ment, and that Plaintiff is therefore entitled to actual and
  ·-' ·      27
  ~~'-
  "
  ~-              compensatory damages in the swn of $705,515.07 for Marina Zinberg, together with accrued and
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  .~.
  ,:,.:.-
                                                                    10
                                                            . COMPLAINT
-·------------ - ---
      Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 13 of 26 Page ID #:22


                                   •                                          •
             1 unpaid prejudgment interest, plus post-judgment interest thereon at the legal rate until paid in full
                 and for $820,604.74 for David Zinberg plus interest from April 19, 2017 and attorney's fees.
             2
                         2.     On the second cause of action that the Court find that Salus operated unlawfully in
             3
                 California and the Court shall award remedies ofrestitution and disgorgement in an amount of
             4
                 $3,103,793.70 or otherwise according to proof at trial.
             5
                         3.     On the third cause of action that the Court find that HRG and Salus were unjustly
             6
                 enriched in an amount of$3,103,793.70 or otherwise according to proof at trial.
             7
                         4.     On aU applicable causes of action, Plaintiffs are entitled to an award of pre-
             8
                 judgment and post judgment interest;
             9
                         5.     Plaintiffs are entitled to an award of attorney's fees and costs associated with this
            10
                 litigation;
            11
                         6.     AU restitutionary remedies and equitable relief allowed on applicable causes of
            12
                 action; and
            13
                         7.     Such other and further relief as may be just and proper.
            14
            15
                 DATED: May 31, 2018                           LAW OFFICES OF LESTER W!NOGRADE. APC
            16
            17
            18                                                 -~~
                                                               Lester Winograde,Esq._\
                                                               Attorney's for Plaintiffs
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o:,                                                               11
                                                           COMPLAIN'r
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 14 of 26 Page ID #:23

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                               Civil Division
                          West District, Santa Monica Courthouse, Department K

  SC129349                                                                          November 27, 2018
  DAVID ZINBERG VS SALUS CAPITAL PARTNERS, LLC                                              8:30 AM
  ET AL


  Judge: Honorable Gerald Rosenberg                   CSR: None
  Judicial Assistant: M. Lee                          ERM: None
  Courtroom Assistant: R. Juarez                      Deputy Sheriff: None

  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Case Management Conference

  The matter is called for hearing.

  Plaintiff fails to appear and the Court finds that there are no proofs of service filed.

  Order to Show Cause Re: Dismissal is scheduled for 12/20/2018 at 08:30 AM in Department K
  at Santa Monica Courthouse.

  Clerk to give notice.

  Certificate of Mailing is attached.




                                              Minute Order                                   Page 1 of 1
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 15 of 26 Page ID #:24

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                       West District, Santa Monica Courthouse, Department K

  SC129349                                                                    December 20, 2018
  DAVID ZINBERG VS SALUS CAPITAL PARTNERS, LLC                                        8:30 AM
  ET AL


  Judge: Honorable Gerald Rosenberg                CSR: None
  Judicial Assistant: P.Anyankor                   ERM: None
  Courtroom Assistant: R. Juarez                   Deputy Sheriff: None

  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Order to Show Cause Re: Dismissal

  The matter is called for hearing.

  There being no appearances, the Court rules as follows:

  The Court orders the Complaint filed by DAVID ZINBERG on 05/31/2018 dismissed without
  prejudice.

  Clerk is to give notice.

  Certificate of Mailing is attached.




                                           Minute Order                              Page 1 of 1
           Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 16 of 26 Page ID #:25
Electronically FILED by Superior Court of California, County of Los Angeles on 06/19/2019 09:50 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Mariscal,Deputy Clerk


                       1     Lester Winograde, Esq. (SBN 171581)
                             Law Offices of Lester Winograde, APC
                             245 Main Street, Suite 113
                       2     Venice, CA 90291
                             Lesterwinograde@verizon.net
                       3
                             Telephone: (310) 226-6864
                       4     Facsimile: (310) 399-1659
                       5

                       6

                       7
                                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                       8
                                                    FOR THE COUNTY OF LOS ANGELES - WEST DISTRICT
                       9
                                                                             UNLIMITED JURISDICTION
                     10

                     11

                     12      DAVID ZINBERG, MARINA ZIN13ERG )                                                CASE NO.: SC129349
                                                             )
                     13                        Plaintiffs    )                                               EX PARTE MOTION TO SET ASIDE
                                                             )                                               DISMISSAL, MEMORANDUM OF
                     14                    vs.               )                                               POINTS & AUTHORITIES;
                                                             )                                               DECLARATION OF LESTER
                     lS      SALUS CAPITAL PARTNERS, LLC;    )                                               WINOGRADE; PROPOSED ORDER
                     16      HRG GROUP, INC.; KYLE SHONAK;   )
                             AARON MILLER and DOES 1 through )                                               Date: June 20, 2019
                             20, inclusive                   )                                               Time: 8:30 a.m.
                     17                                      )                                               Dept.: R
                                               Defendants.   )
                     18
                             --------------)
                     19

                     20
                     21      TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

                                        NOTICE IS HEREBY GIVEN that, on June 20, 2019, at 8:30 a.m., or as soon thereafter
                     22
                     23      as this matter can be heard in Department R of the above-entitled Court, located at 1725 Main

                     24      Street, Santa Monica, California 90401, Plaintiffs, David Zinberg and Marina Zinberg,

                     25      (hereinafter "Plaintiffs") will move ex: parte to vacate and ~et aside the dismissal entered by this

                     26      Department and served on December 21, 2018 and becoming effective December 26, 2018. The

                     27      motion will be made on the ground that the dismissal was taken against Plaintiffs as the result of

                     28

                                                                                                      1
                                                      "    EX PARTE MOTION l'O SET ASIDE DISMISSAL
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 17 of 26 Page ID #:26



     1   the mistake, inadvertence, and excusable neglect of Plaintiffs' attorney, Lester Winograde, who

         has executed a declaration under penalty of perjury attesting to this fault.
     2
                This motion will be based on this notice of motion, memorandum of points and
     3
         authorities served and filed herewith, the accompanying declaration of Lester Wino grade, the
     4
         records and file herein, and on such evidence as may be presented at the hearing of the motion.
     5
         DATED: June 18, 2019                           LAW OFFICES OF LESTER WINOGRADE. APC
     6

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                                                        ~~              \J-~
                                                        Lester Wmograde,
                                                        Attorney's for Plaintiffs
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                             EX PARTE MOTION TO SET ASIDE DISMISSAL
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 18 of 26 Page ID #:27



     1                                           MEMORANDUM
                1.      STATEMENT OF FACTS
     2
                Plaintiffs' case is based on theories of lender liability and unlawful business practices by
     3
         a commercial financial lender and its _parent company and officers. The Complaint was filed on
     4
         May 31, 2018. The wrongful actions of defendants in this case are related with another series of
     5
         cases with the Plaintiffs and other third parties currently being litigated in Santa Monica
     6
         Courthouse.
     7
                The present case was filed by Plaintiffs' counsel to ensure there was no statute of
     8
         limitations issues with the intent to procure new counsel as Plaintiffs' counsel was involved in
     9
         the underlying business matters between the parties alleged in the Complaint and he may
    10
         eventually end up as a witness.
    11
                As such, in June, 2018 Plaintiffs' counsel met with another counsel to substitute into this
    12
         case and in fact gave him a signed substitution. Thereafter, Plaintiff's counsel thought the matter
    13
         was being handled as he signed a substitution. Plaintiffs' Counsel made a mistake in making
    14
         assumption that the substitutjon occurred as the other counsel did not substitute in to the case.
    15
                Plaintiffs' counsel thereafter neglected to follow-up on the status of the case. This Court
    16
         dismissed the case on December 20, 2018 and the clerk mailed out notice in December 21, 2018
    17
         with the effective date of the dismissal being December 26, 2018.
    18
                When speaking with Plaintiffs coW1sel on the related matter last week, Plaintiffs' counsel
    19
         first learned of the mistake about this case being dismissed. Plaintiffs desire to continue to
    20
         pursue the matter and counsel in the related case has agreed to substitute into the case and serve
    21
         defendants up this Motion being granted.
    22
                                              LEGAL ARGUMENT
    23
                2.      THE COURT SHOlJLD GRANT PLAINTIFFS' MOTION TO SET ASIDE
    24
                        THE DISMISSAL UNDER THE MANDATORY PROVISIONS OF C.C.P
    25
                        §473(b) BECAUSE PLAINTIFF'S MOTION IS TIMELY, IN PROPER
    26
                        FORM, AND ACCOMPANIED BY ATTORNEY'S SWORN AFFIDAVIT
    27
                        OF FAULT.
    28

                                                          3

                             EX PAR'I'E MOTION TO SET ASIDE DISMISSAL
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 19 of 26 Page ID #:28



     1          Under the mandatory relief provisions of C. C.P. § 4 73(b), the court is required to grant

         relief from dismissal whenever the motion is: (1) accompanied by an attorney's sworn affidavit
     2
         attesting to his or her mistake, inadvertence, surprise, or neglect, (2) in proper form, and (3) made
     3
         no more that six months after entry of judgment. To obtain relief under these provisions,
     4
         "counsel need not show that his or her mistake, inadvertence, surprise, or neglect was excusable.
     s
         Attestation that one of these reasons existed is sufficient to obtain relief." Yeap v. Leake (1997)
     6
         Cal.App.4th 591,601. "The only exception to mandatory relief is when the trial court finds that
     7
         the default or dismissal was not in fact caused by the attorney's mistake, inadvertence, surprise,
     8
         or neglect" Metropolitan Service Corp. v: Casa de Palms, Ltd (1995) 31 Cal.App.4th 1481. The
     9
         current version of the law requires no timeliness or diligence requirement other than that the
    10
         application be made within six months after judgment. Id. The purpose of this statute is to relieve
    11
         the innocent client of the burden of the attorney's fault, to impose burden on the erring attorney,
    12
         and to avoid precipitating more litigation in the form of malpractice suits. Yeap at 1487.
    13
                In Yeap, a plaintiff brought a medical malpractice action, which was later sent to
    14
         arbitration. Plaintiffs counsel failed to properly_calendar the arbitration hearing date and then
    15
         failed to request a trial de novo in a timely fashion after receiving notice of the zero arbitration
    16
         award. Id. at 594-599. Consequently, that case was dismissed. The court held that the mandatory
    17
         provision of C. C.P. §473(b) was specifically applicable and vacated the dismiss~. In reaching its
    18
         decision, the court reasoned that but for the mistakes of plaintiffs counsel, the case would have
    19
         proceeded to arbitration on the merits. Further, there was nothing to suggest that client was in any
    20
         way responsible for the calendaring errors or that the errors represented a deliberate strategic
    21
         decision. Id. at 601-602
    22
                Yeap is plainly applicable to the present case. Plaintiff' counsel admittedly failed to
    23
         appear at a hearing due to his mistake in \)elieving the other attorney was taking over the case and
    24
         neglecting any follow-up. Furthermore, Pl~ntiffs were in no way responsible for this mistake
    25
         and neglect and there is no evidence that the errors were somehow manufactured as a strategic
    26
         decision. Therefore, since Plaintiffs' attorney brings this motion before the six month deadline
    27
         from the effective service of the dismissal of December 26, 2018 and accompanied by a sworn
    28

                                                           4

                             EX PARTE MOTION TO SET ASIDE DISMISSAL
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 20 of 26 Page ID #:29



     1   affidavit as the cause of the dismissal, the court must grant relief and set aside the dismissal

         order.
     2
                  Finally, Defendants will suffer no prejudice from the relief sought other than delay. The
     3
         Court should also take into consideration the general policy favoring a trial on the merits
     4
         Accordingly, Plaintiffs respectfully request the Court to follow the legislative scheme as well as
     5
         exercise its inherent equitable power and grant an order setting aside the dismissal.
     6
                                                   CONCLUSION
     7
         In view of the foregoing authorities and facts, it is respectfully requested that the Court enter an
     8
         order vacating/setting aside the entry of default/default judgment against Defendant June Kim
     9

    10

    11
         DATED : June 18, 2019                          LAW OFFICES OF LESTER WINOGRADE. APC
    12

    13

    14

    15                                                  Lester Winograde, Esq.                \
                                                        Attorney's for Plaintiffs
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                              EX PARTE MOT ~ON TO SET ASIDE DISMISSAL
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 21 of 26 Page ID #:30



     1   DECLARATION OF LESTER WINOGRADE
                I, LESTER WINOGRADE, declare:
     2
                 1.     I am an attorney at law admitted to practice before all the Courts of the State of
     3
         California. I make this declaration in support of Plaintiffs Motion to Set-Aside Dismissal
     4
         pursuant to C.C.P, §473(b). I make this declaration from first-hand personal knowledge. If
     5
         called upon to do so, I could and would testify to the following.
     6
                2.      Plaintiffs' underlying Complaint is based on theories of lender liability and
     7
         unlawful business practices by a commercial financial lender and its parent company and
     8
         officers. The Complaint was filed on May 31, 2018. The wrongful actions of defendants in this
     9
         case are related with another series of cases with the Plaintiffs and other third parties currently
    10
         being litigated in Santa Monica Courthouse.
    11
                3.      The present case was filed at this time to ensure there was no statute of limitations
    12
         issues with the intent to procure new counsel as I was actually involved in the underlying
    13
         business matters between the parties alleged in the Complaint and he may eventually end up as a
    14
         witness.
    15
                4.      As such, in June, 2018 I met counsel met with another counsel to substitute into
    16
         this case and in fact gave him a signed substitution. Thereafter, I believed the matter was being
    17
         handled as I signed a substitution and left it with the counsel who I thought would substitute in
    18
         the case. I made a mistake in making assun1ption that the substitution occurred as the other
    19
         counsel did not substitute in to the case.
    20
                5.      I thereafter neglected to follow-up on the status of the case with Plaintiffs the
    21
         proposed new counsel or the court. The Complaint was never served.. As such, this Court
    22
         dismissed the case with the clerk mailing out notice on December 21, 2018 with the effective
    23
         date of the dismissal being December 26, 2018.
    24
                6.      When speaking with Plaintiffs' counsel on the related matter last week, I first
    25
         learned of the mistake about this case having being dismissed. Plaintiffs desire to continue to
    26
         pursue the matter and counsel in the related· case has agreed to substitute into the case and serve
    27
         defendants up this Motion being granted.
    28

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                             EX PARTE MOTION TO SET ASIDE DISMISSAL
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 22 of 26 Page ID #:31



     1          7.      The May 31, 2018 incorporated herein will become the operative pleading and

         will be diligently served upon grating of this Motion.
     2

     3
                I declare under penalty of perjury under the laws of the State of California that the
     4
         foregoing is true and correct.
     5

     6
                Executed this 18th day of June, 2019, at Venice, California.
     7

     8

     9                                                 Lester Wmograde
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                             EX PARTE MOTION TO SET ASIDE DISMISSAL
  Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 23 of 26 Page ID #:32

                                                                              R e se r ved f or C ler k ’ s F i le S tam p
          SUPERIOR COURT OF CALIFORNIA
             COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

Santa Monica Courthouse
1725 Main Street, Santa Monica, CA 90401

PLAINTIFF(S):

DAVID ZINBERG et al
DEFENDANT(S):
HRG GROUP, INC. et al
                                                                           CASE NUMBER:
       NOTICE OF CASE REASSIGNMENT AND ORDER FOR
           PLAINTIFF TO GIVE NOTICE (Dates Remain)                        SC129349

TO THE PLAINTIFF(S) AND PLAINTIFF’S ATTORNEY OF RECORD OR PLAINTIFF(S) IN
PROPRIA PERSONA:


                                       06/19/2019
You are hereby notified that effective ____________________, an order was made that the above-
                                        Gerald Rosenberg
entitled action, previously assigned to _______________________________________________,
                                Marc D. Gross
is now and shall be assigned to _____________________________________________________
as an Individual Calendar (IC), direct calendaring judge for all purposes, including trial, in
department         R
                   ____      Santa Monica Courthouse
                          at _________________________________________________________.
(See Chapter 3, Los Angeles Court Rules) All matters on calendar in this case will remain set on
the dates previously noticed, in the department indicated above unless otherwise ordered by the
court.


Notice is further given that plaintiff in propria persona or counsel for the plaintiff is ordered to give
notice of this all-purpose case assignment by serving a copy of the notice on all parties to this
action within 10 days of service of this notice by the court, and file proof of service thereof within 12
days of this notice. Failure to timely give notice and file proof of service may lead to imposition of
sanctions pursuant to Code of Civil Procedure section 177.5 or otherwise.

                                                Sherri R. Carter, Executive Officer / Clerk of Court


        06/19/2019
 Dated: _______________                              Darian Salisbury
                                                  By ____________________________________
                                                                     Deputy Clerk

      NOTICE OF CASE REASSIGNMENT AND ORDER FOR PLAINTIFF TO GIVE NOTICE
                                (Dates Remain)
(Proposed LACIV 252)
LASC Approved 00-00                                                                             Local Rules Chapter 3
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 24 of 26 Page ID #:33
                                                                                Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Santa Monica Courthouse
1725 Main Street Santa Monica, CA 90401
PLAINTIFF/PETITIONER:
DAVID ZINBERG et al
DEFENDANT/RESPONDENT:
HRG GROUP, INC. et al
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             SC129349

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Reassignment and Order for
Plaintiff to Give Notice upon each party or counsel named below by placing the document for collection
and mailing so as to cause it to be deposited in the United States mail at the courthouse in Santa Monica,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
shown below with the postage thereon fully prepaid, in accordance with standard court practices.




    Lester Frank Winograde
    245 Main St Apt 113
    SUITE 5
    Venice, CA 90291-




                                                    Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 06/19/2019                                   By:   Darian Salisbury
                                                          Deputy Clerk




                                     CERTIFICATE OF MAILING
Case 2:19-cv-07833-SVW-JEM Document 1-1 Filed 09/10/19 Page 25 of 26 Page ID #:34

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                       West District, Santa Monica Courthouse, Department R

  SC129349                                                                            June 20, 2019
  DAVID ZINBERG VS SALUS CAPITAL PARTNERS, LLC                                            8:30 AM
  ET AL


  Judge: Honorable Marc D. Gross                    CSR: None
  Judicial Assistant: P. Anyankor                   ERM: None
  Courtroom Assistant: A. Wiggins                   Deputy Sheriff: None

  APPEARANCES:
  For Plaintiff(s): Lester Frank Winograde
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Hearing on Ex Parte Application to Set Aside Dismissal

  The matter is called for hearing.

  Ex Parte Application is held.

  The Court has read and considered all documents filed hereto regarding the above-captioned
  Hearing on Ex Parte Application, and the Court now rules as follows:

  The Ex Parte Application to Set Aside Dismissal filed by DAVID ZINBERG, MARINA
  ZINBERG on 06/19/2019 is Granted.

  The Court orders the dismissal ordered on 12/20/2018 as to the entire action set aside and
  vacated.

  Pursuant to California Rules of Court 3.110, Order to Show Cause Re: Why Plaintiff or
  Plaintiff's Counsel Should Not Be Sanctioned for Failure to File Proof of Service of Summons
  and Complaint as to All Defendants within 60 days is scheduled for 08/19/2019 at 08:30 AM in
  Department R at Santa Monica Courthouse.

  Order to Show Cause Re: Status of Related Cases for SC127537 and SC127539 is scheduled for
  08/19/2019 at 08:30 AM in Department R at Santa Monica Courthouse.

  Any oppositions are to be filed nine (9) court days, prior to the above-scheduled hearing dates.

  No further notice is required.


                                             Minute Order                                Page 1 of 1
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     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                             Civil Division
                        West District, Santa Monica Courthouse, Department R

  SC129349                                                                        August 19, 2019
  DAVID ZINBERG VS SALUS CAPITAL PARTNERS, LLC                                          8:30 AM
  ET AL


  Judge: Honorable Marc D. Gross                    CSR: None
  Judicial Assistant: N. Lee                        ERM: None
  Courtroom Assistant: C. Meeks                     Deputy Sheriff: None

  APPEARANCES:
  For Plaintiff(s): Lester Frank Winograde
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Order to Show Cause Re: Why Plaintiff or Plaintiff's Counsel
  Should Not Be Sanctioned for Failure to File Proof of Service of Summons and Complaint as to
  All Defendants within 60 days;

  Order to Show Cause Re: Status of Related Cases for SC127537 and SC129349


  The matter is called for hearing.
  The above referenced orders to show cause are held.

  Plaintiffs' counsel states that he is still attempting to serve defendants.
  Order to Show Cause Re: Why Plaintiff or Plaintiff's Counsel Should Not Be Sanctioned for
  Failure to File Proof of Service of Summons and Complaint as to All Defendants within 60 days
  is continued to 11/19/2019 at 08:30 AM in Department R at Santa Monica Courthouse.

  Although plaintiffs' counsel has filed on 08/15/2019 a Notice of Related Case in this case
  SC129349, counsel has yet to file a Notice of Related Case in the earliest filed case SC127537
  which is pending before Judge Ford in Department O.

  The Order to Show Cause Re: Status of Proposed Related Cases SC127537 and SC129349 is
  continued as follows. Order to Show Cause Re: Status of Proposed Related Cases SC127537 and
  SC129349 is scheduled for 11/19/2019 at 08:30 AM in Department R at Santa Monica
  Courthouse.

  Plaintiffs' written response to the above referenced Orders to Show Cause shall be due 5 court
  days prior to 11/19/2019.

  Counsel for plaintiffs is to give notice.
                                              Minute Order                              Page 1 of 1
